                       UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF WISCONSIN


ROUMANN CONSULTING INC. and
RONALD ROUSSE,                                         Case No. 2:17-cv-01407-LA

                      Plaintiffs,

       v.

T.V. JOHN & SON, INC. and THE KROGER
CO.,

                      Defendants.


      DEFENDANT T.V. JOHN & SON, INC.’S RULE 26(E)(2) SUPPLEMENTAL
                      EXPERT WITNESS DISCLOSURE


       Defendant T.V. John & Son, Inc., by its attorneys, Godfrey & Kahn, S.C., submits the

following Supplemental Disclosure of Expert Testimony pursuant to Federal Rule of Civil

Procedure Rule 26(e)(2) and the Court’s Order dated April 23, 2019 (ECF No. 68):

       1.      Michael J. Kuhn, CPA
               Vrakas S.C.
               445 South Moorland Road, Suite 400
               Brookfield, Wisconsin 53005

       Mr. Kuhn’s supplemental report, which supplements the opinions and information relied

upon in the July 19, 2019 report and disclosure is attached as Exhibit 1.




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         Dated this 29th day of July, 2024.


                                              By: s/Andrew S. Oettinger_______________
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                                                                                     July 25, 2024



Attorney Andrew Oettinger
Godfrey & Kahn, S.C.
833 East Michigan Street, Suite 1800
Milwaukee, WI 53202

Re:     Roumann Consulting, Inc. v. T.V. John & Son, Inc.
        Report Supplement

Dear Attorney Oettinger:

I write in connection with the above captioned case to supplement my previous report dated July 12, 2019.
Prior to that report, I analyzed and offered opinions on the calculation of net profit realized and commissions
as of April 30, 2019 under the Independent Contractor Agreement (the Agreement) between Roumann
Consulting Inc. (Roumann) and T.V. John & Son, Inc. (TV John). To accomplish this task, we reviewed
information provided by TV John management and any other information we deemed necessary. TV John
has since been renamed Symbiont Construction, Inc., however, we will refer to the company as TV John
throughout to be consistent with the company name as of the date of the Agreement. The opinions
summarized in my prior report and this supplement reflect my assessment to a reasonable degree of
certainty.

The opinions presented are subject to refinement and revision if additional information becomes available
for analysis. At the time of the preparation of the July 12, 2019 report, there were seven projects in process
that have since been completed. This letter will provide an update on the following seven projects:

        16KROG-010
        16KROG-021
        17KROG-035
        18MEN-001
        18MEN-002
        18MEN-016
        18MEN-023

Supplemental facts and data considered in formulating opinion

I have reviewed the following additional documents to supplement my opinion on the net profit realized and
the accuracy of the commission calculation as it relates to the seven projects in process as of April 30,
2019:

        Updated commission calculation for Roumann Consulting prepared by TV John management as of
        March 8, 2023

        Selected job cost summary and detailed cost reports for selected projects on the commission
        calculation as outlined below:

        16KROG-010 Job Detail Report
        16KROG-021 Job Detail Report
        16KROG-021 Project Labor and Expense Report
        18MEN-001 Job Detail Report
        18MEN-002 Job Detail Report




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Attorney Andrew Oettinger                             2                                       July 25, 2024


In preparing this supplement, I discussed the internal control of TV John with Mr. David Schlidt, CFO, and
was informed that there have been no changes to the internal control system other than a new computer
software was utilized to track project costs. To test the accuracy of the commission calculation, I obtained
and reviewed the reports summarized above. I reviewed the reports to determine the actual costs on the
projects per TV John accounting records and to verify those project costs were materially accurate
compared to the costs listed on the updated commission calculation prepared by TV John management as
of March 8, 2023. My review consisted of four of the seven projects in process as of April 30, 2019. When
no significant differences were identified between the project costs per the accounting records and the
project costs listed in the revised commission calculation, it was determined that the review of additional
projects was unlikely to produce different results.

Opinion

I affirm and restate my analysis and opinions as contained in my July 12, 2019 report, which remains
unchanged except for the updates contained in this supplement.

TV John management prepared the commission calculation as of March 8, 2023. I have modified the
presentation format of the commission calculation and have included the modified document just
summarizing the seven in process jobs as of April 30, 2019 as Exhibit A. The modifications I made were
to highlight information that was relevant to our analysis and opinion and to remove information that was
not relevant and also formatting changes to make the document easier for a layperson to read and
understand.

We have determined that TV Johns commission calculations are reasonably accurate as of March 8, 2023
in accordance with the Agreement. The commissions calculation as of April 30, 2019 indicated that the
estimated project profit before commission on the seven in process projects was $1,403,110 and the
estimate of the amount owed at project completion was $420,933 on the seven projects as of April 30,
2019. In the updated commission calculation as of March 8, 2023, the net profit realized on the projects
that were in process as of April 30, 2019 was $575,885 and the amount owed Roumann was $172,765 as
outlined in Exhibit A. Thus, the updated commission calculation reduced the amount owed from $420,993
to $172,765, a reduction of $248,168.

The commission calculation as of April 30, 2019 indicated that the amount owed to Roumann was $401,875.
After the $248,168 reduction in commissions owed on projects in process as of April 30, 2019 and other
minor adjustments made by TV John management of $6,605, the amount of commission owed to Roumann
under the Agreement based on net profit realized on projects is $147,102.

Matters outside the scope of this report

I am not an attorney and am not offering a legal opinion on this case. I also am not offering an opinion on
anything other than the net profit realized and commissions under the Independent Contractor Agreement.

Please let us know if we can be of further service in this matter.

                                                   Sincerely,

                                                   VRAKAS S.C.




                                                   Michael J. Kuhn




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